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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSLVANIA

 DANIELLE WALKER
 3450 J. St.                                                            No.
 Philadelphia, PA 19134
                                                           JURY TRIAL DEMANDED
                               Plaintiff
                        v.

 JOSEPH TROUTEN
 328 N. Miller St.
 Lime Springs, IA 52155

 BILL FUNK TRUCKING, INC.
 933 Main St.
 Chatfield, MN 55923

                             Defendants

                                           COMPLAINT

       AND NOW COMES the Plaintiff, Danielle Walker, by and through her counsel, Morgan

& Morgan Philadelphia, PLLC, and hereby complains against the above-named Defendants, and

in support thereof avers as follows:

                                            PARTIES

   1. The Plaintiff, Danielle Walker (hereinafter “Plaintiff”) is an adult individual who resides

       at 3450 J. St., Philadelphia PA 19134.

   2. The Defendant, Joseph Trouten (hereinafter “Defendant”) is an adult individual who

       resides at 328 N. Miller St., Lime Springs, IA 52155.

   3. The Defendant, Bill Funk Trucking, Inc. (hereinafter “BFT”) is a business entity

       headquartered at 933 Main St., Chatfield, MN 55923.

   4. At all relevant times, the Defendant was the agent, servant, workman and/or employee of

       BFT, and was operating a tractor trailer in the course and scope of his employment.
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5. This Honorable Court has jurisdiction over this matter as the collision took place in

   Philadelphia county and all parties are diverse.

                              FACTUAL BACKGROUND

6. On June 15, 2020 at approximately 3:40 p.m., the Plaintiff was exiting the off ramp of I-

   95 South and was making a right-hand turn onto Callowhill St. from the far right hand

   turn lane.

7. At all relevant times hereto, the off ramp at I-95 South has two turn lanes that allow you

   to turn onto Callowhill St.

8. On the same date, place and time, the Defendant was exiting the off ramp of I-95 South

   and was making a right-hand turn onto Callowhill St. from the left right hand turn lane.

9. The Defendant cut his turn short and struck the Plaintiff’s vehicle.

10. At all relevant times, the Plaintiff had the right of way to make a right-hand turn.

11. As a result of the collision, the Plaintiff suffered serious and permanent injuries to her

   neck, back and right knee.

12. At all relevant times hereto, the Plaintiff acted in a safe, prudent and reasonable manner

   and in no way contributed to her injuries or damages.



                                  COUNT I
                                NEGLIGENCE
                      DANIELLE WALKER v. JOSEPH TROUTEN

13. The preceding paragraphs are incorporated herein by reference by reference as though

   fully set forth.

14. The negligence of the Defendant, individually and as the agent, servant, worker and/or

   employee of BFT, consisted of, but is not limited to the following:



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       a. Failing to maintain proper and adequate control of his tractor trailer;

       b. Driving too fast for the conditions;

       c. Failing to pay proper attention while exiting I-95 South;

       d. Failing to take proper precautions in the operation of his tractor trailer so as to
          avoid the collision that occurred with the vehicle being operated by the Plaintiff;

       e. Failing to have his tractor trailer unit under such control that it could be readily
          stopped, turned aside or the speed thereof slackened upon the appearance of
          danger;

       f. Failing to remain alert;

       g. Failing to operate his tractor trailer in accordance with the Federal Motor Carrier
          Safety Regulations;

       h. Failing to properly control his tractor trailer in light of the circumstances then and
          there existing;

       i. Failing to make necessary and reasonable observations while operating his tractor
          trailer;

       j. Failing to take evasive action and/or failing to take appropriate and timely evasive
          action in order to avoid striking the vehicle operated by the Plaintiff;

       k. Failing to timely and properly apply his brakes;

       l. Violating both the written and unwritten policies, rules, guidelines and regulations
          of BFT;

       m. Failing to apprise himself of and/or abide by the Federal Motor Carrier Safety
          Regulations; and

       n. Failing to apprise himself of and/or abide by the regulations and laws pertaining
          to the operation of commercial vehicles.

15. As a direct and proximate cause of the negligence of the Defendant, the Plaintiff suffered

   the following injuries:

       a. Activation of T5 compression fx; and

       b. Right knee injury.



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   16. As a result of the aforesaid injuries, the Plaintiff, as of the time of the filing of this

       Complaint, has required treatment from, and continues to require treatment for the

       aforesaid injuries.

   17. All of the aforementioned treatment for the Plaintiff’s injuries has been deemed

       reasonable and necessary.

   18. As a result of the aforesaid injuries, the Plaintiff sustained a loss of the everyday

       pleasures and enjoyments of life and may continue to suffer the same for an indefinite

       period of time into the future.

   19. As a result of the aforesaid injuries, the Plaintiff sustained embarrassment and

       humiliation and may continue to suffer the same for an indefinite period of time into the

       future.

   20. As a result of the aforesaid injuries, the Plaintiff sustained physical and mental pain and

       suffering and may continue to suffer the same for an indefinite period of time into the

       future.

   21. As a result of the aforesaid injuries, the Plaintiff has been obligated to expend various

       sums of money and incur various expenses for medical treatment and may be obligated to

       do so into the future.

   22. As a result of the aforesaid injuries, the Plaintiff sustained an impairment of her earning

       capacity / potential.

   WHEREFORE, the Plaintiff, Danielle Walker, hereby seeks all damages allowed from the

Defendant, Joseph Trouten, in an amount in excess of $150,000.00.




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                            COUNT II
                          NEGLIGENCE
DANIELLE WALKER v. BILL FUNK TRUCKING, INC. as being vicariously liable for
                          Joseph Trouten

 23. The preceding paragraphs are incorporated herein by reference as though fully set forth.

 24. The negligence of BFT, as being vicariously liable for the actions of Joseph Trouten,

    consisted of, but is not limited to the following:

        a. Failing to maintain proper and adequate control of his tractor trailer;

        b. Driving too fast for the conditions;

        c. Failing to pay proper attention while exiting I-95 South;

        d. Failing to take proper precautions in the operation of his tractor trailer so as to
           avoid the collision that occurred with the vehicle being operated by the Plaintiff;

        e. Failing to have his tractor trailer unit under such control that it could be readily
           stopped, turned aside or the speed thereof slackened upon the appearance of
           danger;

        f. Failing to remain alert;

        g. Failing to operate his tractor trailer in accordance with the Federal Motor Carrier
           Safety Regulations;

        h. Failing to properly control his tractor trailer in light of the circumstances then and
           there existing;

        i. Failing to make necessary and reasonable observations while operating his tractor
           trailer;

        j. Failing to take evasive action and/or failing to take appropriate and timely evasive
           action in order to avoid striking the vehicle operated by the Plaintiff;

        k. Failing to timely and properly apply his brakes;

        l. Violating both the written and unwritten policies, rules, guidelines and regulations
           of BFT;

        m. Failing to apprise himself of and/or abide by the Federal Motor Carrier Safety
           Regulations; and



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           n. Failing to apprise himself of and/or abide by the regulations and laws pertaining
              to the operation of commercial vehicles.

   25. As a result of the above-stated acts and omissions, the Plaintiff suffered such harm as has

       been previously stated herein.

   WHEREFORE, the Plaintiff, Danielle Walker, hereby seeks all damages allowed from the

Defendant, Bill Funk Trucking, Inc., as being vicariously liable for Joseph Trouten, in an amount

in excess of $150,000.00.




                                                    Respectfully submitted,

                                                    MORGAN & MORGAN PHILADELPHIA, PLLC




                                             BY:    ___/s/ Kevin Clancy Boylan____________
                                                    KEVIN CLANCY BOYLAN, ESQUIRE
                                                    Attorney for the Plaintiff




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                            Danielle Walker

                                     Complaint




                      3/30/2021
